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                                   1                                   UNITED STATES DISTRICT COURT

                                   2                                  NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     DONALD KOLLMAR,                                     Case No. 20-cv-01388-JCS
                                                        Plaintiffs,                          ORDER REASSIGNING CASE
                                   5
                                                 v.
                                   6

                                   7     UNITED STATES PRETRIAL SERVICES,
                                         NORTHERN DISTRICT OF
                                   8     CALIFORNIA,
                                                        Defendants.
                                   9

                                  10          On December 13, 2021, the Honorable Lucy H. Koh’s nomination to the United States

                                  11   Court of Appeals for the Ninth Circuit was confirmed by the United States Senate.

                                  12          Accordingly, IT IS ORDERED that this case is reassigned to the Honorable Jon S. Tigar in
Northern District of California
 United States District Court




                                  13   the San Francisco division for all further proceedings. Counsel are instructed that all future filings

                                  14   shall bear the initials JST immediately after the case number.

                                  15           All hearing and trial dates presently scheduled remain unchanged, but may be reset as

                                  16   necessary by separate order of the Honorable Jon S. Tigar. Existing briefing schedules for motions

                                  17   remain unchanged. Other deadlines such as those for ADR compliance and discovery cutoff also

                                  18   remain unchanged.

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                                  20   Dated: 1/12/2022                                  FOR THE EXECUTIVE COMMITTEE

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                                                                                         Richard Seeborg
                                  23                                                     Chief District Judge
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